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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),                CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/


                                           ORDER

      On March 8, 2010, Timothy O’Reilly filed a 12.2 Notice: “The defendant will call

experts who performed neurological examinations (EEG) of the defendant when he was

approximately 8 and 9 years old.”

      On May 10, 2010, O’Reilly filed a Supplemental 12.2 Notice:

      2.     During the penalty phase, should one be required, witnesses for the
             defense may include school personnel, including teachers,
             administrators and special education, remedial reading,
             speech/language, and adapted physical education teachers, who
             had contact with Mr. O’Reilly and observed his learning and social
             difficulties in the school setting from pre-school until his graduation
             from High School.

                                       .     .     .

      4.     Mr. O’Reilly may also call an expert in Special Education who has
             reviewed his school records and is familiar with Mr. O’Reilly’s
             school system.

      5.     Mr. O’Reilly may also call a developmental pediatrician who
             examined Mr. O’Reilly during his childhood.

      In an Order dated May 10, 2010, the Court gave O’Reilly until May 13, 2010 to


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amend his original 12.2 Notice to include the kind of experts who performed the

neurological examinations of O’Reilly.

       On May 20, 2010, O’Reilly filed a “Belated Compliance with the Court’s Order of

May 10, 2010”:

       Counsel for the defendant became engaged in trial preparation matters,
       such as reviewing belatedly provided new discovery, interviewing
       witnesses, reviewing jury questionnaires and frankly, through excusable
       neglect did not comply with this directive.

       The defendant will call a neurologist who reviewed EEG charts of Mr.
       O’Reilly.

       Before the Court is the Government’s “Motion to Strike Defendant’s 12.2 Notice

and Defendant’s Supplemental 12.2 Notice.” (Doc. #507). The Government asks the

Court to exclude O’Reilly’s expert mental health evidence from the penalty phase.

       The Government’s motion is DENIED. O’Reilly’s Supplemental 12.2 Notice was

timely, O’Reilly sought the Court’s permission to file his Supplemental 12.2 Notice, and

O’Reilly had a legitimate reason for his belated compliance with the Court’s Order

       IT IS ORDERED.



                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge
Dated: June 3, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 June 3, 2010.

 s/Carol A. Pinegar
 Deputy Clerk



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